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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                 COLUMBIA

UNITED STATES OF AMERICA                  *

                                          * Case No.: 21-CR-175-TJK
v.                                        *

ETHAN NORDEAN, et al.,                    *

             Defendants.                  *




              DEFENDANT HENRY TARRIO’S AMENDED MOTION TO
           DISMISS THE INDICTMENT IF THE GOVERNMENT DECLINES
                      TO IMMUNIZE DEFENSE WITNESS
                        LIEUTENANT SHANE LAMOND

      Defendant Henry Tarrio (hereinafter referred to as “Tarrio”), through counsel,

respectfully seeks an order dismissing the indictment if the government declines to seek

immunity for defense witness, Lieutenant Shane Lamond (hereinafter referred to as

“Lamond”). Lamond has substantial exculpatory information to provide regarding Tarrio

and most, if not all, the co-defendants in the instant case. The government claims that

Lamond is under investigation and is in danger of being prosecuted for criminal charges,

forcing him to invoke his Fifth Amendment right and preventing him from testifying at

Tarrio’s trial. The government refuses to seek use immunity for Lamond’s testimony.

Tarrio has a constitutional right to elicit this exculpatory testimony, but cannot exercise

his constitutional right to do so based on the government’s actions. Further, Lamond’s

testimony at this trial is necessary to the public interest under 18 U.S.C. §§ 6002-6003.

      The government began its investigation into the underlying allegations in this case

on January 6, 2021. An innumerable number of witnesses have cooperated with the
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government for approximately 23 months. The government has interviewed multitudes of

other witnesses, executed numerous search warrants, analyzed terabytes of electronic

data, and utilized the forensic expertise of multiple governmental agencies at their

disposal.

        During the past two years, the investigation, including the production of millions of

pages of discovery, countless phone records and data dumps, thousands of hours of

videos, and imbedded CHS informants, there has been no clear evidence of Lamond

engaging in any illegal activity. The government was informed by the defense months ago

of their intention to call Lamond to testify. At no point was Lamond in danger of being

prosecuted, until now. On the eve of trial, the government contacted counsel for Lamond

and informed him that Lamond’s actions might be considered obstruction of justice into

Tarrio’s investigation and he may be prosecuted. Waiting until now is a tactical decision

by the government to prevent Tarrio from exercising his constitutional right to present a

defense. Knowing that Lamond’s testimony would exonerate Tarrio at trial and depriving

Tarrio of his constitutional right is impermissible.

        Preventing Lamond from testifying by holding an ostensible continuing

investigation over his head violates Tarrio’s Sixth Amendment right to compulsory

process of witnesses who would testify in his defense. If the government declines to

immunize Lt Lamond, then the indictment against Tarrio should be dismissed.



   I.       Brief Summary of the Witness Respective Role in this Case

        Lieutenant Lamond is a highly decorated 22-year veteran of law enforcement. He

has served as an intelligence officer whose specific duty was to interact with and


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communicate with various groups of varying political orientation that visited Washington,

D.C.. Tarrio communicated with Lamond before every trip. He informed Lamond of the

purpose of the trip, the agenda, and the location. The Proud Boys respected law

enforcement and, unlike Antifa and BLM, did not call to defund the police. They did not

torch police cars, destroy police property, attack police officers, riot, loot, nor destroy

private property. Tarrio informed Lamond of the Proud Boys January 6 plans; to wit: they

would not be wearing colors to protect themselves from being attacked and stabbed by

Antifa as they had been on two previous occasions; they planned to be present to watch

Trump’s speech; Tarrio planned to speak at the rally; they planned to protest the results

of the election, and later that night they planned to party with plenty of beer and babes.

         Lamond was in communication with Tarrio during the time period of and

concerning, some of the key events alleged in the indictment. Lamond would provide

exculpatory testimony negating Tarrio’s alleged criminal intent. We are unaware of any

conceivable reason, particularly given that Lamond has been cooperating with the

government for approximately two years and after review of the voluminous discovery in

this case, why the government might still be investigating Lamond in connection with this

case.

   II.     Tarrio’s Right to Call Exculpatory Witnesses


   A criminal defendant “has the right to present his own witnesses to establish a

defense. This is a fundamental element of due process of law.” Washington v. Texas,

388 U.S. 14, 19 (1967). Pursuant to this right, the government cannot improperly

interfere with a defendant’s ability to call exculpatory witnesses at trial. “[P]rosecutorial

and judicial actions aimed at discouraging defense witnesses from testifying [have]

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been deemed to deprive the criminal defendant of his Sixth Amendment compulsory

process right.” United States v. Davis, 974 F.2d 182, 186 (D.C. Cir. 1992) (citing Webb

v. Texas, 409 U.S. 95 (1972) (per curiam)).          Where the government prevents

exculpatory witnesses from testifying by impermissibly threatening prosecution of the

witnesses, whether directly or indirectly, the defendant’s conviction may be subject to

reversal. In United States v. Blackwell, 694 F.2d 1325 (D.C. Cir. 1982), the D.C. Circuit

stated that misinformation provided by the prosecution to the exculpatory witness about

the potential for future (reinstated) charges might have constituted harmful and

reversible error (however, the Court did not decide the issue because the defendant

withdrew the exculpatory witness’ subpoena before she testified). Id. at 1343. See

also United States v. Smith, 478 F.2d 976, 979 (D.C. Cir. 1973) (reversing convictions

because “the prosecutor’s warning was plainly a threat that resulted in depriving the

defendants of [the witness’] testimony”).      In Smith, the prosecution advised an

exculpatory witness “that if he took the stand… he ‘would’ be prosecuted… He was

then not charged with any offenses and plain inference under the circumstances was

that if he did not testify, he would not be prosecuted for any of said offenses.” United

States v. Simmons, 670 F.2d 365, 369 & n.1 (D.C. Cir. 1982) (describing Smith, 478

F.2d at 978-79). Our Court of Appeals explained that “[t]he admonition that the

prosecutor gave to [the exculpatory witness] was obviously calculated to induce him

not to testify for the defense. It was a threat over and above any advice that the record

indicated was timely, necessary or appropriate.” Id.


      In other circuits, courts are also clear that the government cannot prevent

exculpatory witnesses from testifying through improper threats of criminal exposure. See


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Blackwell, 694 F.2d at 1333-34 (string cite1 showing the “[v]arious types of governmental

and judicial interference that have been found to deprive the criminal defendant of the

right to present his own witnesses to establish a defense.”). See also United States v.

Lord, 711 F.2d 887, 891-92 (9th Cir. 1983) (prosecutor telling a witness that whether he

would be prosecuted depended on his testimony, may have constituted prosecutorial

misconduct warranting a judgment of acquittal unless the prosecution sought use

immunity for the witness at a new trial); United States v. Morrison, 535 F.2d 223, 229 (3rd

Cir. 1979) (citing Dicta in United States v. Leonard, 494 F.2d 955, 985 n.79 (D.C. Cir.

1974) (concurring and dissenting opinion) (one circumstance in which due process may

demand that the government request use immunity is where prosecutorial misconduct

has caused a defense witness to fear self-incrimination and withhold testimony that is

otherwise available).

        Where the government improperly threatens criminal prosecution to prevent

exculpatory witnesses from testifying, courts typically present the government with two

choices: Either grant the witness use immunity under 18 U.S.C. §§ 6002-6003 or dismiss




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  Webb v. Texas, 409 U.S. 95, 34 L. Ed. 2d 330, 93 S. Ct. 351 (1972) (per curiam) (defense witness
effectively driven off witness stand by remarks of trial judge regarding the penalties for perjury); United
States v. Smith, 156 U.S. App. D.C. 66, 478 F.2d 976 (D.C. Cir. 1973) (defense witness told by prosecutor
that if he testified as indicated by other testimony he could or would be prosecuted for carrying a concealed
weapon, obstructing justice, and as an accessory to murder); United States v. MacCloskey, 682 F.2d 468
(4th Cir. 1982) (U.S. Attorney telephoned defendant's girlfriend's attorney to advise him to remind his client
that if she testified at trial she could be reindicted on dropped charges); United States v. Goodwin, 625 F.2d
693 (5th Cir. 1980) (defense witnesses intimidated by threats of prison officials conditioned upon whether
the witnesses testified at trial); United States v. Hammond, 598 F.2d 1008 (5th Cir. 1979) (defense witness
threatened by FBI agent with retaliation in other cases pending against him); United States v. Henricksen,
564 F.2d 197 (5th Cir. 1977) (per curiam) (defense witness intimidated by terms of his plea bargain in
another case); United States v. Thomas, 488 F.2d 334 (6th Cir. 1973) (per curiam) (defense witness told
by secret service agent during recess of trial that he would be prosecuted for a felony if he testified); Berg
v. Morris, 483 F. Supp. 179 (E.D. Cal. 1980) (trial court coerced witness into giving inculpatory evidence by
twice warning him that his probation would be revoked and perjury charges filed if the truth were not told).

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the case. See Lord, supra, 711 F.2d at 892-93; United States v. Bahadar, 954 F.2d 821,

826 (2nd Cir. 1992) (the immunity decision is up to the executive branch, but the court

has the power to subject the government to certain choices, including the choice to

immunize a witness at the risk of dismissal of the indictment). Courts typically employ a

two-factor test when determining whether to present the government with such a choice,

requiring the defendant to show: (1) the government has forced a potential witness to

invoke his Fifth Amendment right through misconduct, such as (a) threats, harassment,

or other forms of intimidation, (b) conferring immunity on some witnesses and not others,

unmoored from legitimate law enforcement concerns, or (c) deliberately denying immunity

for the purpose of withholding exculpatory evidence and gaining a tactical advantage

through such manipulation; and (2) the relevant witness’ testimony is material,

exculpatory, not cumulative, and not obtainable from any other source. See United States

v. Ebbers, 458 F.3d 110, 119 (2nd Cir. 2006) (citations omitted).

      In another case pending in this Court, in which a similar motion is pending, the

government’s opposition brief concedes that the test articulated by the Second Circuit

should be used to evaluate that motion. See United States v. Sussman, 1:21-cr-582-CRC

(D.D.C.) (ECF No. 70, at 10-11). Further, the Second Circuit’s framework is consistent

with existing precedent in this Circuit. In Smith and Blackwell, the Court of Appeals

demonstrated its willingness to reverse convictions where the government impermissibly

prevented exculpatory witnesses from testifying. See Smith, 478 F.2d at 979 (reversing

convictions); Blackwell, 694 F.2d at 1343 (declining to reverse conviction only because

the defendant had withdrawn the exculpatory witness’ subpoena before she testified); cf.

Simmons, 670 F.2d at 371 (remanding for an evidentiary hearing on possible



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prosecutorial misconduct and noting that if the trial court grants a new trial, the witness

could be compelled to testify by a grant of immunity); cf. United States v. Lugg, 892 F.2d

101, 104 (D.C. Cir. 1989) (acknowledging that case law in the Second, Seventh, and Ninth

Circuits indicates that the government may be compelled to grant a defense witness

immunity where prosecutorial misconduct is involved, or where the prosecutor’s decision

not to immunize a witness distorts the judicial fact-finding process).



    III.      Argument

   A. The Government Is Forcing Lamond to Invoke his Fifth Amendment Right Not to
      Testify in Tarrio’s Trial.


           We have subpoenaed Lamond to testify in Tarrio’s defense. We understand that

Lamond will invoke his Fifth Amendment right not to testify based on the government’s

representation that he is still under investigation and facing possible criminal prosecution.

Notwithstanding the foregoing, the government has not provided any specific details

about the ostensible multi-year investigations into Lamond – not to us, and to the best of

our understanding, not to Lamond’s counsel. It is especially curious that after these past

two years and with Lamond’s full cooperation, the government has still not completed its

purported investigation of Lamond. We are not aware of any contention by the

government that Lamond has not cooperated fully or completely. It is not reasonable to

expect any additional evidence to be obtained from any further investigation against

Lamond or that the government has sufficient evidence to support an indictment against

Lamond.




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       Upon reason and belief, as recently as December 1, 2022, the government

confirmed to    Lamond’s counsel its position that     Lamond remains a subject of an

investigation for his obstruction of justice into an investigation of Tarrio. We understand

that the government informed Lamond’s counsel over the summer that Lamond was a

target and they have not agreed to offer him immunity. Lamond’s counsel informed us

that Lamond will invoke his 5th Amendment privilege and not testify absent a grant of

immunity by the government or similar order from the Court. The government’s actions

violate Tarrio’s constitutional due process.



          B. The Testimony of Lamond Would Be Material, Exculpatory, Non-
             Cumulative, and Not Obtainable From Any Other Source.

               1. Anticipated Testimony of Lamond

        Lamond is a highly decorated intelligence officer of the MPA (Metropolitan

Police). Lamond was charged with the duty to communicate with, befriend, and learn

everything he can from the various groups that will be visiting his jurisdiction in order to

anticipate and react to their actions. He established a relationship with the Proud Boys,

among other groups, in order to monitor their movements, anticipate their actions, and

the counteractions of other groups such as Antifa and BLM.           Lamond knew Tarrio

personally and had interactions with him in person on November 14, December 12, and

multiple other times leading up to January 6. These communications were in person and

via electronic communications. The communications were memorialized internally in the

MPA, and Lamond, as per his training and established protocol, communicated this

information up the chain of his command. Tarrio and the Proud Boys absolutely respected

and revered law enforcement. Unlike other groups, such as Antifa and BLM, that called

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to defund the police, Tarrio and the Proud Boys supported the police, law and order.

Tarrio was not afraid of the police, but rather he collaborated, cooperated, and confided

with the police, and specifically with Lamond reference his future plans, agendas, and

locations of activities in Washington D.C.

       After being stabbed and the stabbings of his brothers in the Proud Boys, Tarrio did

not want to participate in any more violence. Tarrio wanted to get the Proud Boys

message out without bloodshed or physical altercations. Tarrio clearly and accurately

kept law enforcement informed of Proud Boys itinerary and expected law enforcement to

be present during all activity to prevent any further violent attacks on the Proud Boys.

Specifically, Tarrio informed Lamond where he would be staying, where and when they

would be marching, where and when he would be speaking, and how they would be

dressed. Tarrio did this for the protection of his men, for the protection of the police, and

most importantly for the protection of the people. If he informed law enforcement via

Lamond of his actions, the police would be mobilized to protect the people, and keep

people safe from the marauding hordes of Antifa. There were in-person and electronic

communications with Lamond during and concerning key allegations in the indictment.

Lamond’s testimony is relevant and material, relating directly to issues of intent and

motive, and exculpatory. Lamond’s testimony is critical for Tarrio to receive a fair trial.

There is a substantial likelihood that Lamond’s testimony would exculpate Tarrio. If Tarrio

planned a seditious conspiracy and/or a conspiracy to obstruct an official proceeding,

would he tell his law enforcement his every move?

       Finally, these and other questions are not cumulative and cannot be obtained from

any other source besides Lamond.


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                                      CONCLUSION

       More than 22 months after the investigation in this case began, and just a few

weeks before this trial, the government apparently insists that exculpatory defense

witnesses are still under investigation, forcing them to invoke their Fifth Amendment right

not to testify at Tarrio’s trial. We can conceive of no reason why Lamond is still under

investigation after all this time, given his extensive witness cooperation, the numerous

search warrants, copious discovery, and forensic expertise the government has brought

to bear in this matter over such a long period of time.       Counsels for the other co-

defendants in this case have had similar experiences with the government intimating and

pressuring exculpatory defense witnesses. This tactic is a misuse of the government’s

power and unconstitutional.

       If the government does not grant these witnesses use immunity for their testimony,

Tarrio’s compulsory process rights under the Sixth Amendment would be violated, which

would deny him due process of law. Accordingly, we respectfully request that the Court

dismiss the indictment if the government refuses to seek use immunity for Lamond and

other exculpatory defense witnesses, or, in the alternative, issue an order compelling their

immunity.




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                                                      Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was

electronically noticed through the CM/ECF system to the US Attorney’s Office on this 6th

day of December, 2022 to the following:

      Jason McCollough
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